                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF WISCONSIN


    THE ESTATE OF KRISTINA ANN
    FIEBRINK, by Special Administrator
    Nathaniel Cade, Jr.; THE ESTATE OF
    ANGELICA M. FIEBRINK; JOSE D.
    MARTINEZ, JR . ; and ROBERT MARTINEZ,                      Case No . 2:18-cv~ 00832- JPS

                           Plaintiffs,
            v.

    ARMOR CORRECTIONAL HEALTH
    SERVICES, INC., et al.,

                           Defendants.
I



                                 DECLARATION OF TIMOTHY P. RYAN



           I, Timothy P. Ryan, declare pursuant to 28 U.S.C. Section 1746, and under penalty of

    perjury that the following is true and correct:

       1. I am an adult resident of the State of Florida and make this Affidavit based on my

           personal knowledge and belief.

       2. I was retained on February 11, 2019, by Counsel to the plaintiffs, to serve as an expert

           witness in the above entitled federal civil rights case brought against Armor Correctional

           Health Care, et al.

       3. I have submitted an Expert Witness Report in this case dated March 1, 2019, and have

           received a notice of deposition.

       4. I would like to inform the court that I recently discovered an error in my Expert Witness

           Report.




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5. In my report, I made the misnomer of referring to CO Latril Cole as CO Latoya Renfro.

   The actions I attributed to CO Renfro were actually performed by CO Cole. I have

   identified and corrected the following errors:

      a.   Original Paragraph    8d
           CO Renfro, the day shift (Shift #1) Correctional Officer assigned to the female
           Unit 6D, was told by Ms. Fiebrink that she had defecated on herself as the result
           of severe diarrhea. CO Renfro had inmate workers clean up her cell, allowed her
           to take a shower to clean up, and gave Ms. Fiebrink new clothing, but did not
           notify medical staff of the situation, make any notice in the log, or write anything
           on the Tier Card as required. Further, even though there were multiple notices in
           the logs of Ms. Fiebrink’s failure to eat breakfast and lunch meals and combined
           with the defecation event still did not notify medical. Even on the day and time
           (7:45 and 7:47 am) of Ms. Fiebrink’s death (7:38 am), CO Renfro placed on the
           Activity Log that there were “No inmates in obvious distress” and continued to
           log the same even as the Medical Examiner’s Office removed the body of Ms .
           Fiebrink .

           Corrected Paragraph 8d
           CO Cole, the day shift (Shift #1) Correctional Officer assigned to the female Unit
           6D, was told by Ms. Fiebrink that she had defecated on herself as the result of
           severe diarrhea. CO Cole had inmate workers clean up her cell, allowed her to
           take a shower to clean up, and gave Ms. Fiebrink new clothing, but did not notify
           medical staff of the situation, make any notice in the log, or write anything on the
           Tier Card as required . Further, even though there were multiple notices in the
           logs of Ms. Fiebrink’s failure to eat breakfast and lunch meals and combined with
           the defecation event still did not notify medical. Even on the day and tune (7:45
           and 7:47 am) of Ms. Fiebrink’s death (7:38 am) , CO Cole placed on the Activity
           Log that there were “No inmates in obvious distress” and continued to log the
           same even as the Medical Examiner’s Office removed the body of Ms. Fiebrink.

      b. Original Paragraph 21 e

           On Saturday, August 27, Ms. Fiebrink defecated on herself relative to a severe
           case of diarrhea. It was significant enough to have CO Renfro instruct inmate
           workers to help clean up the cell , give Ms. Fiebrink a change of clothes, and allow
           her to shower. However, CO Renfro did not advise the medical staff, document
           this event on the Tier Card, nor put this in the Activity Log. Again, this is an
           event that is indicative severe physically adverse detoxing events requiring
           medical notification.


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   Case 2:18-cv-00832-AJS Filed 04/02/19 Page 2 of 4 Document 231
       Corrected Paragraph 21e
       On Saturday, August 27, Ms. Fiebrink defecated on herself relative to a severe
       case of diarrhea. It was significant enough to have CO Cole instruct inmate
       workers to help clean up the cell, give Ms. Fiebrink a change of clothes, and allow
       her to shower. However, CO Cole did not advise the medical staff, document this
       event on the Tier Card, nor put this in the Activity Log. Again, this is an event
       that is indicative severe physically adverse detoxing events requiring medical
       notification.

  c.   Original Paragraph 22
       On the morning of Ms. Fiebrink ’s death, she was counted twice as “not in
       distress” by CO Renfro and was only identified as having a concern when an
       inmate yelling at her got no response. Again, a failure to properly conduct
       “Wellness Checks” continued the failure of MCSO correction’s staff to address
       their duties and responsibilities in a professional maimer.

       Corrected Paragraph 22
       On the morning of Ms. Fiebrink’s death, she was counted twice as “not in
       distress” by CO Cole and was only identified as having a concern when an inmate
       yelling at her got no response. Again, a failure to properly conduct “Wellness
       Checks” continued the failure of MCSO correction’s staff to address their duties
       and responsibilities in a professional manner.

  d. Original Paragraph 27 d
     CO Renfro failed to advise medical of the severe diarrhea situation affecting Ms.
       Fiebrink.

       Corrected Paragraph 27 d
       CO Cole failed to advise medical of the severe diarrhea situation affecting Ms.
       Fiebrink.

  e.   Original Paragraph     53
       The “Tier Card” is a document, per procedure and practice, that moves with the
       inmates wherever they are moved within the jail. On the front is some initial
       identifying information, but on the back is located space to include routine
       information as well as special needs information . Ms. Fiebrink’s card had no
       significant information on her, even given, her identified special needs and
       missing clinical contacts and visits. Even something simple like “her self-
       defecation” or “monitor closely” seemingly would have allowed custody staff to
       be aware of the concerns surrounding Ms. Fiebrink but there was nothing. Even
       though some custody staff, like CO Renfro, knew this important information as
       early as 8/27/2016, no documentation per policy was made on the card. Such
       inactions support the concept of intentional and deliberate indifference to their
       required duties at the jail and all to the detriment of Ms. Fiebrink .


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